    Case 1:18-cv-00632-RJJ-PJG ECF No. 8 filed 06/28/18 PageID.117 Page 1 of 2
                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JOHN HEYKOOP doing business as
EAGLE TOWING,
                                           NO. 1:18-cv-00632
        Plaintiff,
                                           HON. ROBERT J. JONKER
v
                                           MAG. PHILLIP J. GREEN
MICHIGAN STATE POLICE, DAVID
ROESLER, JEFFREY WHITE, and
CHRIS McINTIRE,

        Defendants.

Christopher S. Patterson (P74350)          Patrick S. Myers (P81444)
John S. Brennan (P55431)                   Assistant Attorney General
Fahey Schultz Burzych Rhodes PLC           Attorney for Defendant
Attorneys for Plaintiff                    Civil Litigation, Employment &
4151 Okemos Road                           Elections Division
Okemos, MI 48864                           P.O. Box 30736
(517) 381-0100                             Lansing, MI 48909
                                           (517) 373-6434
                                                                               /

               STIPULATION AND ORDER FOR AN EXTENSION
                      TO RESPOND TO COMPLAINT

        THE PARTIES STIPULATE to the entry of the attached order allowing all

Defendants until July 11, 2018 to file responsive pleadings. This stipulation is in

accord with Fed. R. Civ. P. 6(b).

s/John S. Brennan (w/consent)                 s/Patrick S. Myers
JOHN S. BRENNAN (P55431)                      PATRICK S. MYERS (P81444)
Attorney for Plaintiff                        Assistant Attorney General
Fahey Schultz Burzych Rhodes PLC              Attorney for Defendants
4151 Okemos Road                              MI Dept. of Attorney General
Okemos, MI 48864                              Civil Litigation, Employment &
Phone: (517) 381-0100                         Elections Division
                                              P.O. Box 30736
                                              Lansing, MI 48909
                                              Phone: (517) 373-6434

Dated: June 28, 2018                          Dated: June 28, 2018
    Case 1:18-cv-00632-RJJ-PJG ECF No. 8 filed 06/28/18 PageID.118 Page 2 of 2
                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JOHN HEYKOOP doing business as
EAGLE TOWING,
                                             NO. 1:18-cv-00632
         Plaintiff,
                                             HON. ROBERT J. JONKER
v
                                             MAG. PHILLIP J. GREEN
MICHIGAN STATE POLICE, DAVID
ROESLER, JEFFREY WHITE, and
CHRIS McINTIRE,

         Defendants.

                                             Patrick S. Myers (P81444)
Christopher S. Patterson (P74350)            Assistant Attorney General
John S. Brennan (P55431)                     Attorney for Defendant
Fahey Schultz Burzych Rhodes PLC             Civil Litigation, Employment &
Attorney for Plaintiff                       Elections Division
4151 Okemos Road                             P.O. Box 30736
Okemos, MI 48864                             Lansing, MI 48909
(517) 381-0100                               (517) 373-6434
                                                                               /


            ORDER FOR EXTENSION TO RESPOND TO COMPLAINT

        The parties having stipulated to the entry of this order,

        IT IS HEREBY ORDERED that responsive pleadings for all Defendants

are due July 11, 2018.


                                                Hon. Robert J. Jonker
Dated:                                          United States District Judge
